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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                    MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                    SECTION: J
                                               ]
                                               ]                    Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                    Mag. Judge Wilkinson
                                               ]

                 SWORN DECLARATION OF ALAN RICHARD ERICKSON

         Pursuant to 28 U. S. C. § 1746 Alan Richard Erickson declares the following:

         1.      “My name is Alan Richard Erickson. The facts contained in this declaration are

within my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 16,

2010 to March 2, 2011. O’Brien’s assigned me to work in Venice, Louisiana at the staging yard,

the demobilization yard and decontamination facility. My duties were to assist O’Brien’s in

tracking vessels, equipment and supplies used in the cleanup response to BP’s Deepwater

Horizon oil spill in April 2010.

         3.      Supplies and equipment needed to clean the spill were kept at forward staging

areas where I worked. It was my job to inventory vessels and their supplies, track where they

were deployed, track when they returned to the decontamination facility and track when they

were returned to staging for redeployment or demobilization.

         4.      I was also responsible for tracking the decontamination of vessels. My job was to

track and report on vessels being decontaminated. I kept track of what equipment was to be

redeployed after decontamination or returned to the owner.

         5.      My position for the entire time I was working for O’Brien’s was Staging

Supervisor. I also supervised the decommissioning and decontamination of vessels and



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equipment. It was my job to develop and maintain status reports to track each vessel on a daily

basis. I also attended daily meetings to explain what vessels and equipment were deployed and

their location.

        6.        O’Brien’s treated me as an independent contractor from the beginning of my

employment until January 1, 2011, when O’Brien’s reclassified me as an employee.

        7.        Many other workers who worked for O’Brien’s performed similar duties to those

I performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

        8.        Throughout my employment, O’Brien’s established my and the other O’Brien’s

Spill Workers’ compensation. Our schedules and daily work direction came from the Venice

based management team, who were often other O’Brien’s spill workers.

                                             Hours Worked

        9.        During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

        10.       The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

        11.       Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from July 21, 2010

to July 30, 2010. I worked over twelve hours each of these days. See Exhibit 1.

                                               Pay

        12.       When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I




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would be paid “$450 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

        13.    When I began my employment with O’Brien’s, I was paid $450 per day and later

that rate was increased to $550 per day based upon increased responsibility and more challenging

assignments. These amounts did not increase if I worked more than my scheduled hours.

        14.    O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                               Control

        15.    O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because, an O’Brien’s employee, hired me over the phone. Just before reporting to work in

Venice, another O’Brien’s employee sent me O’Brien’s hiring documents and employment

policies.

        16.    When I was hired, my supervisor, John Sawicki, who was also employed by

O’Brien’s, told me how to do my job.

        17.    Other O’Brien’s employees supervised and controlled the performance of our

work in all the locations to which I was assigned. For example, I had mandatory daily meetings

with Sawicki. In these meetings, Sawicki gave me and other Spill Workers instructions

regarding our daily tasks and job performance. When there were problems in staging or

decontamination, I went to Sawicki for help.

        18.    Sawicki required me to report daily on the location of cleanup vessels and their

supplies. These reports were used by the Venice based management team, many of whom were

other O’Brien’s spill workers, to monitor and plan our assignments for the next day.




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        19.     Sawicki directed the information I was to track and how I was to report it.

Sawicki also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Sawicki

required me to make corrections according to his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I made approximately 4 requests for time off. I made these requests to Sawicki, who approved

them.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.




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       26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

       27.     Around December 15, 2010, an O’Brien’s HR representative, Christine Royer,

met with us. She explained that effective January 1, 2011, O’Brien’s was reclassifying me as an

employee.

       28.     Just before I was let go, or “demobilized,” Sawicki told me that I was to report to

demobilization. In demobilization, my O’Brien’s electronic access badge was deactivated. After

being demobilized, I returned home because I no longer had work or lodging in Venice.

                                            Investment

       29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, we were provided with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for travel expenses and rental cars. O’Brien’s also provided facilities, including offices and

lodging.

                                    Special Skill or Expertise

       30.     O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received little formal training after being hired. I

found out about employment with O’Brien’s through a friend who had been hired by O’Brien’s

to work on the cleanup. Based on his recommendation, I contacted O’Brien’s. An O’Brien’s

employee returned my call and after a short phone interview, offered me a job with O’Brien’s.

Less than a week later, I was in Venice receiving instructions from Sawicki.




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                                                               EXHIBIT 1
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                                                               EXHIBIT 2
